                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 UNITED STATES OF AMERICA                             )
                                                      )
        Respondent                                    )
 v.                                                   )       No. 3:07-cr-51-7
                                                      )       (Phillips)
 CASSIE MCKENZIE                                      )
                                                      )
        Petitioner                                    )

                                MEMORANDUM AND ORDER

        Petitioner, Cassie Mckenzie, has filed a pro se motion [Doc. 713] requesting that the Court

 alter or amend her judgment pursuant to Rule 59(e) of the Federal Rules of Civil Procedure. Firstly,

 Rule 59(e) requires that the Petitioner file a Rule 59(e) motion within 28 days of the Courts entry

 of judgment; however, Petitioner’s Judgment occurred on January 28, 2008; Petitioner’s Motion is

 therefore late. Secondly, Petitioner’s arguments are indistinguishable from her previous filings

 [Doc. 343], [Doc.373], [Doc. 384], [Doc. 605], [Doc. 615], [Doc.631], [Doc. 373] and so on. The

 Petitioner has been instructed that repetitious motions will be treated as frivolous, [Doc. 711] yet

 the Petitioner persists undaunted.     Since the Motion before the Court is repetitious and

 indistinguishable from the Petitioner’s previous motions, and since the Petitioners Motion is more

 than four years late, Petitioners Motion to Alter or Amend [Doc. 713] is DISMISSED.

                IT IS SO ORDERED.

                                               ENTER:

                                                     s/ Thomas W. Phillips
                                                   United States District Judge




                                                  1


Case 3:07-cr-00051-TAV-CCS           Document 725 Filed 08/22/12             Page 1 of 1      PageID
                                           #: 7417
